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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON




LUKE REUDIGER, et al

                                    Plaintiffs,

                    v.                                           Civil No. 04-3093-CO

The UNITED STATES FOREST
SERVICE,

                                    Defendant,

FRUIT GROWERS SUPPLY COMPANY,

                              Defendant-Intervenor.
_____________________________________________

                                      JUDGMENT

      This action is dismissed.

      Dated: November 4, 2005


                           Donald M. Cinnamond, Clerk

                                    /s/ S. Nogelmeier
                           by
                                S. Nogelmeier, Deputy Clerk



JUDGMENT                                                 DOCUMENT NO:
